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                                9 Attorneys for Defendant CMM Technology, Inc.

                               10                        IN THE UNITED STATES DISTRICT COURT

                               11                                    DISTRICT OF NEVADA

                               12 U.S. ORDNANCE, a Nevada corporation,               Case No.: 3:19-cv-0409-MMD-CBC
5441 KIETZKE LANE, SUITE 200




                               13                       Plaintiff,                   STIPULATION AND [PROPOSED]
    HOLLAND & HART LLP

    RENO, NV 89511-2094




                                                                                     ORDER TO CONTINUE THE
                               14 v.                                                 DEADLINE FOR THE PARTIES TO
                                                                                     FILE STIPULATION TO DISMISS
                               15 CMM TECHNOLOGY, INC., a California
                                  corporation and DOES 1-20, inclusive,              Prior Deadline:
                               16                                                           January 4, 2021
                                                      Defendants.
                               17                                                    Proposed Deadline:
                                                                                            January 25, 2021
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                                1          WHEREAS, the parties have reached an agreement to resolve the above captioned
                                2   lawsuit, and have recently executed a written settlement agreement memorializing that
                                3
                                    agreement;
                                4
                                           WHEREAS, because of the ongoing Covid-19 pandemic, it took longer than expected to
                                5
                                    finalize and then execute the written settlement agreement;
                                6

                                7          WHEREAS, the Court had set a deadline on January 4, 2021 for the parties to file a

                                8   stipulation to dismiss the matter;

                                9          WHEREAS, the parties will have a Stipulation to Dismiss drafted, executed and filed,
                               10
                                    shortly, but in no case later than January 25, 2021.
                               11

                               12          THEREFORE, IT IS HEREBY STIPULATED by and between the parties, subject to the
5441 KIETZKE LANE, SUITE 200




                               13   Court’s approval, as follows:
    HOLLAND & HART LLP

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                               14          1.      The deadline for the parties to file a Stipulation to Dismiss the lawsuit be

                               15   continued until January 25, 2021.

                               16

                               17    DATED this 8th day of January, 2021.                DATED this 8th day of January, 2021

                               18    /s/Richard G. Campbell, Jr.                       /s/Mark J. Butler
                                    Richard G. Campbell, Jr. (SBN 1832)               Mark J. Butler (pro hac vice)
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                                                                                      Attorneys for Defendant
                               26                                                     CMM Technology, Inc.

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                                1                                              ORDER
                                2          GOOD CAUSE APPEARING, the parties’ Stipulation and Proposed Order to continue
                                3   the deadline for the parties to file a Stipulation to Dismiss is GRANTED.
                                4          The Court hereby orders that the deadline for the parties to file a Stipulation to Dismiss
                                5   be continued until and including January 25, 2021.
                                6   IT IS SO ORDERED.
                                7           January 8, 2021
                                    DATED: ________________                     By       ___________________________________
                                8                                                        The Honorable Miranda M. Du
                                                                                         Chief United States District Judge
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